Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 1 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18   1


 1                       UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS
 2

 3   UNITED STATES OF AMERICA,

 4        Plaintiff,

 5   v.                                      Docket No. 16-20032-JAR

 6   LORENZO BLACK                           Kansas City, Kansas
     KARL CARTER,                            Date: 07/17/2018
 7   ANTHON AIONO,

 8      Defendants.
     ....................
 9

10                            TRANSCRIPT OF
                            STATUS CONFERENCE
11               BEFORE THE HONORABLE JULIE A. ROBINSON
                      UNITED STATES DISTRICT JUDGE
12

13   APPEARANCES:

14   For the Government:         Mr. Steven D. Clymer
                                 (Appeared telephonically)
15                               Department of Justice - USAO
                                 Lrm Eckert, William
16                               100 S. Clinston Street, Suite 9000
                                 Syracuse, New York 13261
17
                                 Mr. Duston J. Slinkard
18                               Office of United States Attorney
                                 444 Southeast Quincy, Suite 290
19                               Topeka, Kansas 66683-3592

20                               Mr. Stephen R. McAllister
                                 (Appeared telephonically)
21                               Office of United States Attorney
                                 500 State Avenue, Suite 360
22                               Kansas City, Kansas 66101

23   For the Defendant Lorenzo Black:
                          Mr. John Jenab
24                        Jenab Law Firm, P.A.
                          7431 Broadway, #9
25                        Kansas City, Missouri 64114




                          Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1   Filed 07/30/18   Page 2 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.           07.17.18   2


 1   APPEARANCES:

 2   (Continued)

 3   For the Defendant Karl Carter:
                          Mr. David J. Guastello
 4                        (Appeared telephonically)
                          The Guastello Law Firm, LLC
 5                        811 Grand Boulevard
                          Suite 101
 6                        Kansas City, Missouri 64106

 7   For the Defendant Anthon Aiono:
                          Mr. Jason P. Hoffman
 8                        (Appeared telephonically)
                          Hoffman & Hoffman
 9                        CoreFirst Bank & Trust Building
                          100 East Ninth Street
10                        Third Floor East
                          Topeka, Kansas 66612
11
     For the Movant Federal Public Defender:
12                        Ms. Melody J. Brannon
                          Mr. Kirk C. Redmond
13                        Office of Federal Public Defender
                          117 Southwest Sixth Street
14                        Suite 200
                          Topeka, Kansas 66603
15
     For the Special Master David R. Cohen:
16                        Mr. David R. Cohen
                          (Appeared telephonically)
17                        David R. Cohen Co., LPA
                          24400 Chagrin Boulevard
18                        Suite 300
                          Cleveland, Ohio 44122
19
                                Ms. Alleen VanBebber
20                              (Appeared telephonically)
                                VanBebber Law Firm, LLC
21                              2029 West 95th Street
                                Leawood, Kansas 66206
22
        __________________________________________________
23
             Kelli Stewart, CSR-KS, CRR-MO, RPR, CRR, RMR
24                      Official Court Reporter
                 259 U.S. Courthouse, 500 State Avenue
25                     Kansas City, Kansas 66101




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 3 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18        3


 1                  (2:03 p.m., proceedings commenced).

 2                  THE COURT:      All right.        You can be seated.

 3   All right.     We will go on the record in United States

 4   versus Lorenzo Black, Karl Carter, Anthon Aiono.                      The

 5   case number is 16-20032.          And the appearances of those

 6   in the courtroom are?

 7                  MR. SLINKARD:         Good afternoon, Your Honor.

 8   The government appears by Duston Slinkard.                   Also present

 9   by telephone are U.S. Attorney Steve McAllister and

10   Special Attorney Steve Clymer.

11                  THE COURT:      All right.        And appearing in the

12   courtroom also?

13                  MS. BRANNON:       For the Federal Public

14   Defender, Melody Brannon and Kirk Redmond.

15                  THE COURT:      All right.        And then-- so we

16   have Mr. McAllister and Mr. Clymer on the line.

17                  Mr. Jenab, are you there for Lorenzo Black?

18                  MR. JENAB:      Yes, Your Honor.

19                  THE COURT:      All right.        Mr. Guastello, are

20   you there for Karl Carter?

21                  MR. GUASTELLO:         Yes, Your Honor.

22                  THE COURT:      And, Mr. Hoffman, are you there

23   for Mr. Aiono?

24                  MR. HOFFMAN:       Yes, Your Honor.

25                  THE COURT:      And my understanding is that Mr.




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 4 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18            4


 1   Black, Mr. Carter and Mr. Aiono have all waived

 2   appearance for today's hearing.              Correct?      Mr. Jenab?

 3                  MR. JENAB:      Yes, Your Honor.

 4                  THE COURT:      Mr. Guastello?

 5                  MR. GUASTELLO:         That's correct, Judge.             Yes.

 6   Yes, Judge.

 7                  THE COURT:      And Mr. Hoffman?

 8                  MR. HOFFMAN:       Yes, Your Honor.

 9                  THE COURT:      And then also on the line, Mr.

10   Cohen, are you there?

11                  SPECIAL MASTER COHEN:            I am, Judge.          Thank

12   you.

13                  THE COURT:      And, Ms. VanBebber, are you

14   there?

15                  MS. VANBEBBER:         Yes, Your Honor.

16                  THE COURT:      Have I missed anyone who's on

17   the line who wants to enter an appearance?                   All right.

18   I hear not.

19                  So this is set for a status conference

20   today.    You all are going to report on where you're at

21   in your negotiations.         And, Mr. Slinkard or Ms. Brannon,

22   whoever wants to start.

23                  MR. SLINKARD:         Your Honor, we have--

24   updating the Court from I believe at the time of the

25   last status conference, the parties have spoken




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1   Filed 07/30/18   Page 5 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.           07.17.18   5


 1   regarding some prospective relief and submitted a

 2   proposed order to the Court.           We're re-visiting some of

 3   the matters in that at the Court's direction to take

 4   into account some of the points of view of the marshals

 5   service.     And there have been some further negotiations

 6   and conversations on that point.

 7                  With respect to retrospective relief, we've

 8   really focused on dealing with those matters in the last

 9   series of meetings.        We've met fairly continuously the

10   last couple of weeks and at this time have reached an

11   agreement in principle that we will be shortly able to

12   put before the Court.

13                  We're still firming up exact numbers with

14   respect to-- we've identified a universe of just

15   approximately 100 defendants that would have been in

16   custody and had meetings in rooms that may have been

17   recorded during that time and we're working on some

18   other fronts, but we believe we're-- well, as I say,

19   we've reached an agreement in principle on how to handle

20   those and we believe that we'll be able to formulate

21   that into something more firm to present to the Court

22   fairly shortly.

23                  THE COURT:      All right.       Ms. Brannon, is

24   there anything else you'd like to add?

25                  MS. BRANNON:       Your Honor, just a couple of




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR    Document 537-1    Filed 07/30/18   Page 6 of 18
     16-20032-JAR         USA v. Lorenzo Black, et al.            07.17.18           6


 1   things.    One of the things we're discussing is the

 2   avenue that we would present to the Court, and we've

 3   been discussing 2555s.           I think we have a universe of--

 4   of clients that we would treat similarly and then there

 5   would be a few that we have to consider individually for

 6   whatever circumstances they have in their case.                        We're

 7   also dividing them between Kansas City and Topeka, so

 8   that's some of the things that are--

 9                  MR. McALLISTER:           Your Honor, I don't want to

10   interrupt - excuse me, counsel - but I'm having a hard

11   time hearing Ms. Brannon, but I do hear typing in the

12   background.         So I'd like to be able to hear what she's

13   saying.

14                  THE COURT:        Okay.     Would you start over, Ms.

15   Brannon?

16                  MS. BRANNON:         Sure, I can repeat.           There are

17   a couple of other things we are talking about, the

18   avenue of relief that we will present to the Court by

19   agreement.     Right now we're talking about 2555s.                     We

20   have, as Mr. Slinkard said, identified a group of about

21   100 people who were subject to the videotaping that was

22   produced for the government.

23                  We are further looking at whether we can

24   deal with a group of those sort of like a class action

25   to apply a formula to their existing sentences.                        And we




                           Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 7 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18   7


 1   are only talking about people who are currently serving

 2   sentences.

 3                  We also have further divided it between

 4   Kansas City and Topeka, and there may be some

 5   discrepancy about how those are treated, as well as we

 6   acknowledge that there are some outlier cases that we

 7   will have to treat and consider differently.

 8                  The other factor in this, Your Honor, is

 9   that of this group there will be some-- we anticipate

10   there will be some clients that opt into this agreement.

11   There may be some that opt out.              There will also be some

12   that just by agreement we have not deemed eligible for

13   the terms of this agreement.

14                  Those opt-outs and the other people who may

15   have claims will still be able to file independently,

16   they just won't receive the benefit of the agreement we

17   have with the government.            And hopefully the FPD can

18   work with those clients.

19                  The other part of this, Your Honor, is we're

20   working and have been working with the clients affected

21   by the videotaping because it was fairly easy to

22   identify who that was.         We are working as well on the

23   clients who would be affected by the recording of phone

24   calls, and specifically we are looking at those who have

25   attorney-client calls that were recorded and requested




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1   Filed 07/30/18   Page 8 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.           07.17.18     8


 1   or obtained and in the United States Attorney's

 2   possession.

 3                  Identifying that group is a bit more

 4   difficult and cumbersome, but hopefully we can work with

 5   the Special Master to come up with a system to identify

 6   those and then work with the U.S. Attorney's Office to

 7   see how we deal with that.           We've been assured that

 8   there will be some parity between how the video clients

 9   are handled and the phone call clients are handled.

10                  So I-- I think that probably covers any of

11   the other issues that we have agreed on and what

12   direction we're going.

13                  THE COURT:      All right.       On the phone, Mr.

14   McAllister, you're-- and Mr. Clymer, you're appearing by

15   phone, is there anything more that you'd like to add to

16   what Mr. Slinkard and Ms. Brannon have told me?

17                  MR. CLYMER:       No, Your Honor.

18                  MR. McALLISTER:        Your Honor, not-- not much

19   really.    I think one of the things that the Federal

20   Public Defender has done is very helpful, is they've

21   tried to pull together spreadsheets of the people

22   involved and affected, and it's going to take us a

23   little time just to go through all that.                 And then I--

24   as Ms. Brannon mentioned, there may be individual cases,

25   in fact, that we talk about separately from a-- a




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1   Filed 07/30/18   Page 9 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.           07.17.18   9


 1   general agreement.

 2                  So, you know, this is not necessarily done

 3   today, but the principle, the concept, a lot of the

 4   parameters we have agreed upon.             And we're certainly not

 5   trying to-- to delay or slow things, I'm just saying it

 6   may take a little time to get through all of these

 7   cases.

 8                  THE COURT:      I understand.          Mr. Jenab, is

 9   there anything that you'd like to weigh in on?

10                  MR. JENAB:      No.    Thank you, Judge.

11                  THE COURT:      How about you, Mr. Guastello?

12                  MR. GUASTELLO:        No, Your Honor.

13                  THE COURT:      And Mr. Hoffman?

14                  MR. HOFFMAN:       No, ma'am.

15                  THE COURT:      Mr. Cohen?

16                  SPECIAL MASTER COHEN:           Thank you, Judge.

17   Unfortunately, I have to echo Mr. McAllister, some of it

18   was hard to hear.        I guess I just want to make sure that

19   I understand one thing, and that is that the-- the

20   extent to which the orders that the Federal Public

21   Defender and the United States Attorney's Office

22   together are going to submit to the Court, I couldn't

23   really tell whether those are actually kind of more or

24   less finalized and-- and whether that's something that

25   the Court wants me to look at.




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 10 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18         10


 1                   THE COURT:      All right.        That's a good

 2   question.      You all had I think submitted two proposed

 3   standing orders a while back.               One prospective, one

 4   retrospective.        And the one that would be prospective in

 5   terms of-- no.        Well, I don't know if that's right, but

 6   you had presented standing orders to me.                  I had not done

 7   anything with them because then I got some communication

 8   that made me think that everything was still in play.

 9                   But then I will let you know that the

10   standing order that-- one of the standing orders which

11   had to do with appointment of the FPD to 2255 clients

12   unless there's a conflict has become a standing order,

13   Standing Order 18-3, today.             The entire court has signed

14   off on that.        So that one is operative, you can check

15   that one off the list.

16                   But with respect to the other earlier

17   submissions, I assume I'm not to do anything with those

18   until I hear further from you; is that correct?

19                   MS. BRANNON:         Judge, I think as far as the

20   prospective order, we have been waiting for some

21   information from general counsel and not received it

22   yet, so I suppose we-- we could wait for that.                     We do--

23                   THE COURT:      And is that the general counsel

24   of the U.S. Marshals Service?

25                   MS. BRANNON:         Yes.




                          Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 11 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18       11


 1                   THE COURT:     Okay.

 2                   MS. BRANNON:         We do have and they were very

 3   good to provide the actual agreements with the jails and

 4   we also have an amendment in the contract with CCA.

 5   There may be some provisions of that that we want to

 6   bring to the Court's attention.              But beyond that, we--

 7   the U.S. Attorney and the FPD have not changed anything

 8   about our agreement.

 9                   THE COURT:     Okay.      Well, I will sit on those

10   until further notice and not enter anything,

11   particularly because it sounds like you're waiting on

12   general counsel to give feedback on-- upon review of

13   that.    So we can set another status conference whenever

14   you all are ready to take up anything else we need to

15   take up.

16                   MS. BRANNON:         Judge, the other thing that

17   might be helpful, if the U.S. Attorney is in agreement,

18   we do have a draft spreadsheet that we could provide to

19   the Special Master if that would speed things along.                   I

20   also spoke with the Trey Burton in probation to let him

21   know what's going on and told him we would try to

22   provide him a draft spreadsheet.

23                   The thing is with the agreement we've

24   reached, it could-- if the Court accepts it, it could

25   result in the immediate release of certain people and so




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18    Page 12 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.             07.17.18         12


 1   obviously we need to work with probation on any--

 2                   THE COURT:       Wait a minute.          Somebody needs

 3   to put their phone on mute because we're getting some

 4   background noise.        Okay.       I'm sorry, go ahead.

 5                   MS. BRANNON:         I was saying that if the Court

 6   accepts the-- the agreed dispositions, there may be some

 7   people that are eligible for immediate release and,

 8   therefore, we need to identify those and work with

 9   probation on release plans and so forth.                   Those are

10   things that we maybe can begin to work on.

11                   I think the other question that may have

12   come up is if we have this series of agreed orders to

13   present to the Court, obviously there are a variety of

14   judges who had the cases originally and we didn't know

15   if it was going to be something where this Court could

16   address the agreed orders as-- sort of as a streamline

17   or if they would revert to the various judges.                      I don't

18   believe there's anybody out of Wichita that's affected.

19                   THE COURT:       That's a good question, I

20   haven't given that a lot of thought.                   I think if it-- if

21   the settlement is going to require some individual

22   judicial decision-making, it makes sense for the cases

23   to stay with the assigned judges.               But if it doesn't

24   really require it, it's just a matter of you all have

25   reached an agreement and, you know, the judge-- judge




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR    Document 537-1    Filed 07/30/18   Page 13 of 18
     16-20032-JAR         USA v. Lorenzo Black, et al.            07.17.18   13


 1   can adopt that, I'm fine with handling them or finding

 2   somebody to handle all of them because it would be more

 3   efficient I assume.

 4                   MS. BRANNON:          If it helps the Court at all,

 5   the agreed orders that we are contemplating would have a

 6   specific sentence that we would recommend to the Court,

 7   a specific number.          It would not affect supervised

 8   release or other aspects of the sentence, it would just

 9   be who is currently serving a sentence and whether that

10   needs to be modified in some way.

11                   THE COURT:       All right.        Well, given that,

12   I'm fine with either taking them myself or asking one of

13   my colleagues to take all of them.                 It will take some

14   administrative work.           We'll have to transfer those cases

15   to one judge's name I suppose.               Maybe not, maybe we can

16   keep them under the original judge but one judge would

17   enter all the orders.           We'll figure that out.

18                   MR. McALLISTER:          Your Honor, this is Steve

19   McAllister.         I mean, just to echo what Ms. Brannon is

20   saying, I think the people who in a sense opt out,

21   that's a different matter.              But those who would partake

22   of the agreement, it's going to be in terms of an

23   agreed-upon percentage which produces a single number.

24   And even the individual ones we may look at a little

25   differently, my expectation would be before it's




                           Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 14 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18       14


 1   presented to the Court, the FPD and the U.S. Attorney's

 2   Office would have agreed on a number.

 3                   THE COURT:        Okay.

 4                   MR. McALLISTER:           So that's the way they

 5   would be presented, not asking the Court to make

 6   findings or make a discretionary judgment of any kind.

 7                   THE COURT:        Okay.     All right.      So it sounds

 8   to me like this is-- a single judge can manage this.                   So

 9   that's what-- the way we'll plan to proceed.                    I'll

10   likely do that.         I think my colleagues would appreciate

11   that if I did.

12                   Okay.     Okay.      Anyone else want to weigh in

13   on anything?        Mr. Cohen, did that answer the questions

14   you have?

15                   SPECIAL MASTER COHEN:           I think so, Judge.

16   I'm sure that I'll end up talking with you and-- and

17   Steve and Melody in the future.

18                   THE COURT:        Okay.     And it sounds like they

19   have, by agreement, more work for you to do in terms of

20   helping identify and fleshing out the spreadsheet

21   perhaps.

22                   SPECIAL MASTER COHEN:           Which, of course, I'm

23   happy to do.

24                   THE COURT:        Okay.     One note I wanted to

25   make.    We have Mr. Carter's trial, it's set for




                          Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 15 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18       15


 1   August 13th.        So we're going to need to do something

 2   with that if you think this won't be finalized by then.

 3   What do you think is a reasonable time frame to at least

 4   have another status conference or how long do you think

 5   all of this will realistically take?

 6                   MR. SLINKARD:         Your Honor, I mean, with

 7   respect to that particular case, there is the motion

 8   that's pending under advisement from the Court on that

 9   case.    So I think if we get close to that-- I don't

10   think that that time frame is unrealistic.                   Certainly I

11   think we will have been back to the Court with updated

12   information before August 13th, whether or not we're at

13   conclusion or whether it's a further status update.

14                   I guess the government would ask that-- that

15   you be subject to-- that you leave the matter subject to

16   call so that we can get in touch with you through Mr.

17   Cohen when we need-- have something meaningful to share

18   with the Court and we can address that at that time, but

19   we'll all be aware that we need to address the

20   circumstance of Mr. Carter's date before August 13th.

21                   THE COURT:      All right.        So at this point I

22   won't-- Ms. Brannon, is there something you wanted to

23   say?

24                   MS. BRANNON:         I'm sorry, I just had another

25   thought.     While the government is looking at the




                          Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1    Filed 07/30/18   Page 16 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.            07.17.18        16


 1   spreadsheet on the videos, we will be working on the

 2   phone records and trying to sort that out.                   That may

 3   require us to ask the Court for authorization for

 4   certain subpoenas to either Securus or CoreCivic, and we

 5   kind of need a hearing date I think for the purpose of

 6   issuing those subpoenas, so if the Court even set

 7   something maybe the first week of August so that we

 8   could at least work with that.              If that has to be

 9   moved--

10                   THE COURT:     All right.

11                   MS. BRANNON:         -- we can deal with that, but

12   we need a-- I think we need a date.

13                   THE COURT:     Okay.      Let's see.        Why don't we

14   set the afternoon of August 1st, say 2:00.                   That's a

15   Wednesday.      We can change that if need be, but that's

16   the hearing date you can put on the subpoenas.

17                   Okay.    Anything else?

18                   MR. SLINKARD:         Just so we're clear, Your

19   Honor, I think the record would reflect this, but that

20   date for August 1st would be a hearing date for any

21   matters that need to be heard related to the subpoenas

22   that the FPD needs to issue for-- we're not interpreting

23   that at this point to be a hearing where any of the

24   witnesses previously subpoenaed would need to appear

25   unless and until there was some specific update.                       So




                         Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR    Document 537-1    Filed 07/30/18   Page 17 of 18
     16-20032-JAR         USA v. Lorenzo Black, et al.            07.17.18       17


 1   just so I can tell people that they don't need to

 2   rearrange schedules, I want to make sure that's

 3   acceptable to everyone.

 4                   THE COURT:       That is correct.          I'm not

 5   setting August 1 as an evidentiary hearing for any

 6   witness testimony, but I am setting it as a hearing for

 7   purposes of any subpoenas.              That would be the return

 8   date, if not before, but no evidence taken on August 1.

 9                   MR. SLINKARD:          Thank you, Your Honor.

10                   THE COURT:       Okay.     All right.        What else?

11   Anything else we need to talk about while we're all

12   here?    And I should note for the record that Deputy

13   Marshal Craig Beam is-- is here in court.                    And from the

14   probation office, Milt Ruble is here in court as well.

15                   MR. SLINKARD:          Nothing further from the

16   government, Your Honor.

17                   THE COURT:       All right.

18                   MS. BRANNON:          Not from the FPD.

19                   THE COURT:       All right.        Anyone on the phone

20   have anything further?

21                   MR. CLYMER:        No, Your Honor.

22                   THE COURT:       All right.        Thank you all for

23   being available today, and we look forward to hearing

24   from you again once you've ironed out the rest of the

25   settlement.         Thank you.     We'll be in recess.




                           Kelli Stewart, CSR, RPR, CRR, RMR
Case 2:16-cr-20032-JAR   Document 537-1   Filed 07/30/18   Page 18 of 18
     16-20032-JAR        USA v. Lorenzo Black, et al.           07.17.18   18


 1                   (2:22 p.m., proceedings recessed).

 2

 3

 4                               C E R T I F I C A T E

 5

 6

 7

 8       I, Kelli Stewart, a Certified Shorthand Reporter and

 9   the regularly appointed, qualified and acting official

10   reporter of the United States District Court for the

11   District of Kansas, do hereby certify that as such

12   official reporter, I was present at and reported in

13   machine shorthand the above and foregoing proceedings.

14       I further certify that the foregoing transcript,

15   consisting of 17 pages, is a full, true, and correct

16   reproduction of my shorthand notes as reflected by this

17   transcript.

18       SIGNED July 30, 2018.

19

20

21

22                   /s/ Kelli Stewart

23                   Kelli Stewart, CSR, RPR, CCR, RMR

24

25




                         Kelli Stewart, CSR, RPR, CRR, RMR
